                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,              )
                                       ) Case No. 23-CR-1020
            Plaintiff,                 )
                                       ) UNRESISTED
vs.                                    ) MOTION TO CONTINUE
                                       ) TRIAL AND ALL TRIAL-RELATED
MATTHEW DAVID KEIRANS,                 ) DEADLINES
                                       )
            Defendant.                 )
______________________________________________________________________________

        Defendant, Matthew David Keirans, through counsel, respectfully moves to continue the

trial and all trial-related deadlines, and in support states as follows:

        1.      Mr. Keirans was indicted on December 12, 2023, on five counts of false statement

to a National Credit Union Administration insured institution, in violation of 18 U.S.C. § 1014 and

two counts of aggravated identity theft, in violation of 18 U.S.C. § 1028A(a)(1). Mr. Keirans

pleaded not guilty. A detention hearing was held and Mr. Keirans was detained pending trial.

        2.      Trial is currently set for the two-week period beginning February 12, 2024. Trial

motions are due January 25, 2024; and Mr. Keirans ’s deadline to file a status report or accept

responsibility is January 22, 2024.

        3.      In order to permit the parties additional time for plea negotiations, the defense more

time to review discovery, and additional time for Mr. Keirans to consult with counsel, Mr. Keirans

requests an extension of the trial date and trial-associated deadlines. Mr. Keirans requests an

extension of these deadlines by at least 60 days.




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            4.         The undersigned has discussed a continuance with Assistant United States Attorney

 Timothy Vavricek and he has indicated that he does not object to rescheduling the trial and all trial

 deadlines in this matter.

            5.         No previous motions to continue have been filed.

            For the foregoing reasons, Matthew Keirans, through counsel, respectfully moves for a

 continuance of the trial date and all trial-related deadlines by at least 60 days.


                                                        FEDERAL DEFENDER'S OFFICE
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                                                        BY: /s/ Christopher J. Nathan
                                                        CHRISTOPHER J. NATHAN
                                                        christopher_nathan@fd.org
                                                        ATTORNEY FOR DEFENDANT



             CERTIFICATE OF SERVICE
I hereby certify that on January 19, 2024, I
electronically filed this document with the Clerk of
Court using the ECF system which will serve it on the
appropriate parties.
                        By: /s/ Melissa Dullea




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